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UNITED sTATES DISTRICT COURT ll /M
WESTERN DISTRICT OF TENNESSEE U_- sw `h itt 'i: 59
Western Division ”“‘
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UNITED STA'I`ES OF AMERICA

-vs- Case No. 2;00cr20220~3-Ma

LAVELL BATES

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention/probable cause hearing
is set for THURSDAY, JUNE 16, 2005 at 3:15 P.M. before United States Magistrate Judge S.
Thomas Anderson in Courtroom M-3, 9"‘ Floor, United States Courthouse and Federal Bui]ding,
167 North Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing.

Date: June l3, 2005 K&JL/

TU M. PHAM
UNITED sTATES MAGISTRATE JUDGE

 

 

'lf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendantl 18 U.S.C. § 3142(1")(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B.'BS) Order of Temporary Detention

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with Fiu!e 55 ami/or 32(b} FHCrP on izé‘ if£'Oé

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 471 in
case 2:00-CR-20220 Was distributed by faX, mail, or direct printing on
J unc 14, 2005 to the parties listcd.

 

 

Jennifer LaWrence Webber
U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

